                  Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 1 of 31


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 8
                                UNITED STATES DISTRICT COURT
 9
                                        EASTERN DISTRICT OF CALIFORNIA
10

11       LUZ M. ROBLES DE NUNEZ,                                 Case No. 1:21-cv-00618-SAB

12                        Plaintiff,                             ORDER DENYING PLAINTIFF’S SOCIAL
                                                                 SECURITY APPEAL
13               v.
                                                                 (ECF Nos. 13, 17)
14       COMMISSIONER OF SOCIAL
         SECURITY,
15
                          Defendant.
16

17                                                               I.

18                                                    INTRODUCTION

19              Luz M. Robles De Nunez (“Plaintiff”) seeks judicial review of a final decision of the

20 Commissioner of Social Security (“Commissioner” or “Defendant”) denying her application for

21 disability benefits pursuant to the Social Security Act. The matter is currently before the Court

22 on the parties’ cross-motions for summary judgment, which were submitted, without oral
                                                   1
23 argument, to Magistrate Judge Stanley A. Boone.                               Plaintiff requests the decision of

24 Commissioner be vacated and the case be remanded for further proceedings arguing : (1) the

25 Administrative Law Judge’s residual functional capacity finding contains logical errors; and (2)

26 the Administrative Law Judge failed to include work-related limitations in the residual functional
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     1
         The parties have consented to the jurisdiction of the United States Magistrate Judge and this action has been
28 assigned to Magistrate Judge Stanley A. Boone for all purposes. (See ECF Nos. 9, 12, 13.)


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              Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 2 of 31


 1 capacity finding consistent with the nature and intensity of Plaintiff’s limitations, including by

 2 failing to offer legitimate reasons for rejecting Plaintiff’s subjective complaints. For the reasons

 3 explained herein, Plaintiff’s social security appeal shall be denied.

 4                                                   II.

 5                                              BACKGROUND

 6          A.      Procedural History

 7          On December 13, 2018, Plaintiff filed a Title II application for a period of disability

 8 insurance benefits, and a Title XVI application for supplemental income benefits, alleging a

 9 period of disability beginning on June 26, 2018. (AR 198-201, 202-213.) Plaintiff’s application

10 was initially denied on March 8, 2019, and denied upon reconsideration on June 3, 2019. (AR

11 116, 123.) Plaintiff requested and received a hearing before Administrative Law Judge Shane

12 McGovern (the “ALJ”). Plaintiff appeared for a hearing before the ALJ on August 7, 2020. (AR

13 38-63.) On September 2 2020, the ALJ issued a decision finding that Plaintiff was not disabled.

14 (AR 15-37.) The Appeals Council denied Plaintiff’s request for review on February 17, 2021.

15 (AR 1-8.)

16          On April 14, 2021, Plaintiff filed this action for judicial review. (ECF No. 1.) On

17 August 1, 2022, Defendant filed the administrative record (“AR”) in this action. (ECF No. 15.)

18 On November 8, 2022, Plaintiff filed an opening brief. (Pl.’s Opening Br. (“Br.”), ECF No. 19.)

19 On January 19, 2023, Defendant filed an opposition brief. (Def.’s Opp’n (“Opp’n”), ECF No.
20 24.) Plaintiff did not file a reply brief.

21          B.      The ALJ’s Findings of Fact and Conclusions of Law

22          The ALJ made the following findings of fact and conclusions of law as of the date of the

23 decision, October 30, 2020:

24          1. The claimant meets the insured status requirements of the Social Security Act through

25               December 31, 2023.

26          2. The claimant has not engaged in substantial gainful activity since July 26, 2018, the

27               alleged onset date (20 CFR 404.1571 et seq., and 416.971 et seq.).

28          3. The claimant has the following severe impairments: left knee residuals from torn


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            Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 3 of 31


 1            meniscus, status-post surgery/meniscectomy; residuals from right knee replacement;

 2            obesity (20 CFR 404.1520(c) and 416.920(c)).

 3         4. The claimant does not have an impairment or combination of impairments that meets

 4            or medically equals the severity of one of the listed impairments in 20 CFR Part 404,

 5            Subpart P, Appendix 1 (20 CFR 404.1520(d), 404.1525, 404.1526, 416.920(d),

 6            416.925 and 416.926).

 7         5. The claimant has the residual functional capacity to perform light work as defined in

 8            20    CFR      404.1567(b)   and   416.967(b)    except    she   can    never    climb

 9            ladders/ropes/scaffolds, only occasionally balance, stoop, kneel, crouch and crawl.

10            She must avoid exposure to hazards such as moving mechanical parts and unprotected

11            heights, and avoid exposure to excessive vibration.

12         6. The claimant is unable to perform any past relevant work (20 CFR 404.1565 and

13            416.965).

14         7. The claimant was born on February 5, 1967 and was 51 years old, which is defined as

15            an individual closely approaching advanced age, on the alleged disability onset date

16            (20 CFR 404.1563 and 416.963).

17         8. The claimant has a marginal education (20 CFR 404.1564 and 416.964).

18         9. Transferability of job skills is not an issue in this case because the claimant’s past

19            relevant work is unskilled (20 CFR 404.1568 and 416.968).

20         10. Considering the claimant’s age, education, work experience, and residual functional

21            capacity, there are jobs that exist in significant numbers in the national economy that

22            the claimant can perform (20 CFR 404.1569, 404.1569(a), 416.969, and 416.969(a)).

23         11. The claimant has not been under a disability, as defined in the Social Security Act,

24            from July 26, 2018, through the date of this decision (20 CFR 404.1520(g) and

25            416.920(g)).

26 (AR 23-33.)
27 / / /

28 / / /


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                  Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 4 of 31


 1                                                            III.

 2                                                 LEGAL STANDARD

 3              A.       The Disability Standard

 4              To qualify for disability insurance benefits under the Social Security Act, a claimant must

 5 show she is unable “to engage in any substantial gainful activity by reason of any medically

 6 determinable physical or mental impairment2 which can be expected to result in death or which

 7 has lasted or can be expected to last for a continuous period of not less than 12 months.” 42

 8 U.S.C. § 423(d)(1)(A). The Social Security Regulations set out a five-step sequential evaluation

 9 process to be used in determining if a claimant is disabled. 20 C.F.R. § 404.1520;3 Batson v.

10 Comm’r of Soc. Sec. Admin., 359 F.3d 1190, 1194 (9th Cir. 2004). The five steps in the

11 sequential evaluation in assessing whether the claimant is disabled are:

12                       Step one: Is the claimant presently engaged in substantial gainful
                         activity? If so, the claimant is not disabled. If not, proceed to step
13                       two.
14                       Step two: Is the claimant’s alleged impairment sufficiently severe
                         to limit his or her ability to work? If so, proceed to step three. If
15                       not, the claimant is not disabled.
16                       Step three: Does the claimant’s impairment, or combination of
                         impairments, meet or equal an impairment listed in 20 C.F.R., pt.
17                       404, subpt. P, app. 1? If so, the claimant is disabled. If not,
                         proceed to step four.
18
                         Step four: Does the claimant possess the residual functional
19                       capacity (“RFC”) to perform his or her past relevant work? If so,
                         the claimant is not disabled. If not, proceed to step five.
20
                         Step five: Does the claimant’s RFC, when considered with the
21                       claimant’s age, education, and work experience, allow him or her
                         to adjust to other work that exists in significant numbers in the
22                       national economy? If so, the claimant is not disabled. If not, the
                         claimant is disabled.
23

24
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         A “physical or mental impairment” is one resulting from anatomical, physiological, or psychological abnormalities
25 that are demonstrable by medically acceptable clinical and laboratory diagnostic techniques. 42 U.S.C. § 423(d)(3).

26   3
       The regulations which apply to disability insurance benefits, 20 C.F.R. §§ 404.1501 et seq., and the regulations
     which apply to SSI benefits, 20 C.F.R. §§ 416.901 et seq., are generally the same for both types of benefits.
27   Accordingly, while Plaintiff seeks only Social Security benefits under Title II in this case, to the extent cases cited
     herein may reference one or both sets of regulations, the Court notes these cases and regulations are applicable to the
28   instant matter.


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                  Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 5 of 31


 1 Stout v. Comm’r, Soc. Sec. Admin., 454 F.3d 1050, 1052 (9th Cir. 2006). The burden of proof is

 2 on the claimant at steps one through four. Ford v. Saul, 950 F.3d 1141, 1148 (9th Cir. 2020). A

 3 claimant establishes a prima facie case of qualifying disability once she has carried the burden of

 4 proof from step one through step four.

 5              Before making the step four determination, the ALJ first must determine the claimant’s

 6 RFC. 20 C.F.R. § 416.920(e); Nowden v. Berryhill, No. EDCV 17-00584-JEM, 2018 WL

 7 1155971, at *2 (C.D. Cal. Mar. 2, 2018). The RFC is “the most [one] can still do despite [her]

 8 limitations” and represents an assessment “based on all the relevant evidence.” 20 C.F.R. §§

 9 404.1545(a)(1); 416.945(a)(1).              The RFC must consider all of the claimant’s impairments,

10 including those that are not severe. 20 C.F.R. §§ 416.920(e); 416.945(a)(2); Social Security

11 Ruling (“SSR”) 96-8p, available at 1996 WL 374184 (Jul. 2, 1996).4 A determination of RFC is

12 not a medical opinion, but a legal decision that is expressly reserved for the Commissioner. See

13 20 C.F.R. §§ 404.1527(d)(2) (RFC is not a medical opinion); 404.1546(c) (identifying the ALJ

14 as responsible for determining RFC). “[I]t is the responsibility of the ALJ, not the claimant’s

15 physician, to determine residual functional capacity.” Vertigan v. Halter, 260 F.3d 1044, 1049

16 (9th Cir. 2001).

17              At step five, the burden shifts to the Commissioner, who must then show that there are a

18 significant number of jobs in the national economy that the claimant can perform given her RFC,

19 age, education, and work experience. 20 C.F.R. § 416.912(g); Lounsburry v. Barnhart, 468 F.3d
20 1111, 1114 (9th Cir. 2006).               To do this, the ALJ can use either the Medical Vocational

21 Guidelines (“grids”), or rely upon the testimony of a VE. See 20 C.F.R. § 404 Subpt. P, App. 2;

22 Lounsburry, 468 F.3d at 1114; Osenbrock v. Apfel, 240 F.3d 1157, 1162 (9th Cir. 2001).

23 “Throughout the five-step evaluation, the ALJ is responsible for determining credibility,

24 resolving conflicts in medical testimony, and for resolving ambiguities.’ ” Ford, 950 F.3d at

25 1149 (quoting Andrews v. Shalala, 53 F.3d 1035, 1039 (9th Cir. 1995)).

26
     4
         SSRs are “final opinions and orders and statements of policy and interpretations” issued by the Commissioner. 20
27 C.F.R. § 402.35(b)(1). While SSRs do not have the force of law, the Court gives the rulings deference “unless they
     are plainly erroneous or inconsistent with the Act or regulations.” Han v. Bowen, 882 F.2d 1453, 1457 (9th Cir.
28 1989); see also Avenetti v. Barnhart, 456 F.3d 1122, 1124 (9th Cir. 2006).


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             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 6 of 31


 1         B.      Standard of Review

 2         Congress has provided that an individual may obtain judicial review of any final decision

 3 of the Commissioner of Social Security regarding entitlement to benefits. 42 U.S.C. § 405(g).

 4 In determining whether to reverse an ALJ’s decision, the Court reviews only those issues raised

 5 by the party challenging the decision. See Lewis v. Apfel, 236 F.3d 503, 517 n.13 (9th Cir.

 6 2001). Further, the Court’s review of the Commissioner’s decision is a limited one; the Court

 7 must find the Commissioner’s decision conclusive if it is supported by substantial evidence. 42

 8 U.S.C. § 405(g); Biestek v. Berryhill, 139 S. Ct. 1148, 1153 (2019). “Substantial evidence is

 9 relevant evidence which, considering the record as a whole, a reasonable person might accept as

10 adequate to support a conclusion.” Thomas v. Barnhart (Thomas), 278 F.3d 947, 954 (9th Cir.

11 2002) (quoting Flaten v. Sec’y of Health & Human Servs., 44 F.3d 1453, 1457 (9th Cir. 1995));

12 see also Dickinson v. Zurko, 527 U.S. 150, 153 (1999) (comparing the substantial-evidence

13 standard to the deferential clearly-erroneous standard). “[T]he threshold for such evidentiary

14 sufficiency is not high.” Biestek, 139 S. Ct. at 1154. Rather, “[s]ubstantial evidence means

15 more than a scintilla, but less than a preponderance; it is an extremely deferential standard.”

16 Thomas v. CalPortland Co. (CalPortland), 993 F.3d 1204, 1208 (9th Cir. 2021) (internal

17 quotations and citations omitted); see also Smolen v. Chater, 80 F.3d 1273, 1279 (9th Cir. 1996).

18 Even if the ALJ has erred, the Court may not reverse the ALJ’s decision where the error is

19 harmless. Stout, 454 F.3d at 1055–56. Moreover, the burden of showing that an error is not
20 harmless “normally falls upon the party attacking the agency’s determination.” Shinseki v.

21 Sanders, 556 U.S. 396, 409 (2009).

22         Finally, “a reviewing court must consider the entire record as a whole and may not affirm

23 simply by isolating a specific quantum of supporting evidence.” Hill v. Astrue, 698 F.3d 1153,

24 1159 (9th Cir. 2012) (quoting Robbins v. Soc. Sec. Admin., 466 F.3d 880, 882 (9th Cir. 2006)).

25 Nor may the Court affirm the ALJ on a ground upon which he did not rely; rather, the Court may

26 review only the reasons stated by the ALJ in his decision. Orn v. Astrue, 495 F.3d 625, 630 (9th
27 Cir. 2007); see also Connett v. Barnhart, 340 F.3d 871, 874 (9th Cir. 2003). Nonetheless, it is

28 not this Court’s function to second guess the ALJ’s conclusions and substitute the Court’s


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             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 7 of 31


 1 judgment for the ALJ’s; rather, if the evidence “is susceptible to more than one rational

 2 interpretation, it is the ALJ’s conclusion that must be upheld.” Ford, 950 F.3d at 1154 (quoting

 3 Burch v. Barnhart, 400 F.3d 676, 679 (9th Cir. 2005)).

 4                                                  IV.

 5                                  DISCUSSION AND ANALYSIS

 6          Plaintiff argues: (1) the ALJ’s residual functional capacity finding contains logical errors;

 7 and (2) the ALJ failed to include work-related limitations in the residual functional capacity

 8 finding consistent with the nature and intensity of Plaintiff’s limitations, including by failing to

 9 offer legitimate reasons for rejecting Plaintiff’s subjective complaints.

10          A.     The RFC Determination is Proper and Supported by Substantial Evidence

11          1.     General Legal Standards

12          The RFC is an assessment of the sustained, work-related physical and mental activities

13 the claimant can still do on a regular and continuing basis despite his limitations. 20 C.F.R. §§

14 404.1520(e), 404.1545(a), 416.945(a); see also Valencia v. Heckler, 751 F.2d 1082, 1085 (9th

15 Cir. 1985) (RFC reflects current “physical and mental capabilities”); SSR 96-8p, at *2. Thus, it

16 represents the maximum amount of work the claimant is able to perform based on all the relevant

17 evidence in the record. See id.; see also 20 C.F.R. § 416.945(a)(3) (RFC determination must be

18 “based on all of the relevant medical and other evidence.”). As previously noted, the RFC is not

19 a medical opinion, but a legal decision that is expressly reserved for the Commissioner. See 20
20 C.F.R. §§ 404.1527(d)(2); 404.1546(c); Vertigan, 260 F.3d at 1049 (“It is clear that it is the

21 responsibility of the ALJ, not the claimant’s physician, to determine residual functional

22 capacity.”) (citing 20 C.F.R. § 404.1545). And where “the record contains conflicting medical

23 evidence, the ALJ is charged with determining credibility and resolving the conflict.” Benton v.

24 Barnhart, 331 F.3d 1030, 1040 (9th Cir. 2003); Batson, 359 F.3d at 1195; see also Lingenfelter,

25 504 F.3d at 1042 (“When evaluating the medical opinions of treating and examining physicians,

26 the ALJ has discretion to weigh the value of each of the various reports, to resolve conflicts in
27 the reports, and to determine which reports to credit and which to reject.”); Morgan v. Comm’r

28 of Soc. Sec. Admin., 169 F.3d 595, 603 (9th Cir. 1999) (holding that ALJ was “responsible for


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             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 8 of 31


 1 resolving conflicts” and “internal inconsistencies” within doctor’s reports); Tommasetti, 533

 2 F.3d at 1041–42 (“[T]he ALJ is the final arbiter with respect to resolving ambiguities in the

 3 medical evidence.”).

 4          In reviewing whether an ALJ committed error in determining the RFC, the relevant

 5 inquiry is whether the medical evidence supports the ALJ’s finding. Stubbs-Danielson v. Astrue,

 6 539 F.3d 1169, 1173-74 (9th Cir. 2008) (holding the RFC assessment adequately captures

 7 restrictions if it is consistent with the concrete limitations in the medical opinions); see also

 8 Schneider v. Comm’r, 433 Fed. Appx. 507, 509 (9th Cir. 2011) (ALJ’s failure to address

 9 claimant’s migraines was harmless because medical record did not support finding that migraines

10 would affect claimant’s functioning at work). Accordingly, “[t]he ALJ’s RFC determination

11 need not precisely reflect any particular medical provider’s assessment.” Althoff-Gromer v.

12 Comm’r of Soc. Sec., No. 2:18-cv-00082-KJN, 2019 WL 1316710, at *13 (E.D. Cal. Mar. 22,

13 2019) (citing Turner v. Comm’r of Soc. Sec., 613 F.3d 1217, 1222–23 (9th Cir. 2010)); see also

14 Chavez v. Colvin, 654 Fed. App’x 374, 375 (10th Cir. 2016) (ALJ need not “parrot … exact

15 descriptions of … limitations” to reach an RFC determination consistent with the medical record

16 and claimant’s limitations).

17          2.     Plaintiff’s Arguments on Appeal

18          As summarized above, the ALJ found greater limitations than the State agency

19 physicians. (AR 30.) Plaintiff takes issue with the fact the ALJ disagreed with that assessment,
20 and also disagreed with Plaintiff’s own assessment that she was unable to perform light work due

21 to the inability to stand and walk for prolonged periods and the need for a cane for ambulation.

22 Plaintiff contends that once an ALJ determines that none of the available opinion evidence

23 captures the totality of a claimant’s functional limitations, the ALJ faces an evidentiary deficit

24 that they may not fill with a lay opinion, Banks v. Barnhart, 434 F. Supp. 2d 800, 805 (C.D. Cal.

25 2006). (Br. 8.) Plaintiff argues that because no reviewing or examining doctor issued an opinion

26 congruent with the assessed RFC, it is evident that the ALJ relied on his own lay interpretation of
27 the evidence, that the ALJ states without specific citation, that the “longitudinal record supports

28 greater limitations in lifting/carrying” (AR 40), and while the Plaintiff does not disagree that she


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             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 9 of 31


 1 is more limited than assessed by the reviewing doctors, the fact remains that the ALJ’s additional

 2 limitations are fabricated from whole cloth. (Br. 9.)

 3          Plaintiff thus submits, in other words, that the ALJ did not logically connect the

 4 additional medical evidence and impairments to the RFC limitations. Plaintiff proffers for

 5 example: there is no evidence that a light RFC would prevent or alleviate Plaintiff’s increasing

 6 pain upon prolonged standing and walking; that it is illogical to conclude that two bad knees

 7 results in additional lifting limitations, but not additional standing and walking limitations; and

 8 that Plaintiff stated that at all times since the September, 2018 surgery, she required a cane (AR

 9 51).    Plaintiff argues medical evidence demonstrated ongoing weakness of the right lower

10 extremity through the date that the left knee became involved (AR 298, 307, 312, 403, 407); that

11 on June 6, 2019, Plaintiff reported to the right knee surgeon that she had left knee pain; that at

12 that time, the surgeon opined that as to the left knee, Plaintiff should undergo therapy and could

13 bear weight only as tolerated (AR 434); and this was also the case relative to the right knee (id.).

14          Plaintiff contends it is apparent that no State Agency doctor reviewed any evidence

15 pertaining to the left knee. (AR 68, 93). Further, once the proper imaging of the left knee was

16 finally obtained, the MRI revealed the large mass, driving the decision to operate on the left

17 knee. (AR 459, 576). Plaintiff concedes the ALJ acknowledged this evidence, but argues he

18 fails to explain how that evidence is indicative of the ability to stand and walk six hours out of an

19 eight hour work day, and nor does he explain how that evidence contraindicates the need for a
20 cane. Plaintiff submits that indeed, despite overwhelming evidence of bilateral lower extremity

21 weakness, tenderness and swelling, nowhere in the determination does the ALJ connect the

22 ultimate RFC to these limitations.

23          Plaintiff also argues the ALJ’s finding runs counter to SSR 96-8p, which provides that:

24 “The RFC assessment must include a narrative discussion describing how the evidence supports

25 each conclusion, citing specific medical facts (e.g., laboratory findings) and nonmedical

26 evidence (e.g., daily activities, observations).” Titles II & Xvi: Assessing Residual Functional
27 Capacity in Initial Claims, SSR 96-8P (S.S.A. July 2, 1996). Plaintiff states: “[n]owhere in her

28 determination does the ALJ indicate how an individual with these established symptoms


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               Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 10 of 31


 1 connects to the limitations assessed in her RFC,” and “[t]his court requires that at a minimum,

 2 the decision must explain the ALJ’s reasoning with sufficient clarity to ‘allow[] for meaningful

 3 review.’ ” (Br. 9-10, quoting Brown-Hunter v. Colvin, 806 F.3d 487, 492 (9th Cir. 2015). In

 4 this regard, Plaintiff argues that without citations, the ALJ notes that additional limitations in

 5 lifting and carrying are supported, but fails to explain or cite any evidence regarding that finding,

 6 or why he failed to assess any limitations in standing and walking, or how the use of a cane was

 7 contraindicated.

 8            Plaintiff maintains that had the ALJ properly considered the limiting effects of both knee

 9 impairments, it would be understood she could not sustain the RFC assessed by the ALJ.

10 Specifically, Plaintiff argues the ALJ failed to account for the need to use a cane, sit every 15-30

11 minutes and elevate the legs to relieve swelling (AR 51, 50, 249, 52, 314, 403, 525), and that had

12 the ALJ’s assessed RFC properly accounted for these well-supported limits, he would have

13 found that Plaintiff was unable to perform light work due to the inability to stand and walk for

14 prolonged periods or ambulate without a cane.

15            3.       The Court Finds No Remandable Error

16            For the reasons explained below, the Court finds substantial evidence supports the ALJ’s

17 RFC determination that the Plaintiff retains the RFC to perform light work as defined in 20 CFR

18 404.1567(b) and 416.967(b) except she can never climb ladders/ropes/scaffolds, only

19 occasionally balance, stoop, kneel, crouch and crawl. She must avoid exposure to hazards such
20 as moving mechanical parts and unprotected heights, and avoid exposure to excessive vibration.

21 (AR 26.)5

22            As the ALJ discussed in his opinion, Plaintiff had right knee surgery in September of

23 2018, and left knee surgeries in May 2020. (AR 28.) The Court agrees with Defendant that after

24 the September 2018 surgery, Plaintiff’s records demonstrate she recovered quickly and

25   5
       “Light work involves lifting no more than 20 pounds at a time with frequent lifting or carrying of objects weighing
     up to 10 pounds. Even though the weight lifted may be very little, a job is in this category when it requires a good
26   deal of walking or standing, or when it involves sitting most of the time with some pushing and pulling of arm or leg
     controls. To be considered capable of performing a full or wide range of light work, you must have the ability to do
27   substantially all of these activities. If someone can do light work, we determine that he or she can also do sedentary
     work, unless there are additional limiting factors such as loss of fine dexterity or inability to sit for long periods of
28   time.” 20 C.F.R. § 404.1567(b).


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             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 11 of 31


 1 significantly. As noted by the ALJ, “[d]uring a right knee, two-week post-operative evaluation

 2 in September 2018, the claimant had some muscle weakness and stiffness but her knee range of

 3 motion was 100 degrees at flexion, and she was ambulating without assistance. (AR 28.) The

 4 ALJ’s notation is accurate. This record demonstrates that on September 27, 2018, Plaintiff had

 5 muscle weakness and stiffness; right knee pain was a 4 out of 10 on an average; Plaintiff stated

 6 that knee pain is better; and Plaintiff was ambulating without assistance on a gait exam. (AR

 7 304.) The postoperative plan noted: Plaintiff’s “weight bearing status is now full weight bearing

 8 . . . as tolerated . . . patient is progressing as expected . . . within normal limits.” (AR 304.) The

 9 record noted no restrictions on knee range of motion, with weight bearing as tolerated. (Id.) The

10 Court notes that in the main summary, Plaintiff indicates a pain level of 4 out of 10, however,

11 under Impression/Plan, pain is noted as 2 out of 10.

12          The ALJ also noted that “the claimant completed a knee survey in September 2018 rating

13 her symptoms of knee pain and/or stiffness as only mild or moderate for various areas of daily

14 activities/functioning (e.g., going up and down stairs, standing upright, twisting/pivoting on

15 knee, bending to pick up objects).” (AR 28.) The ALJ’s description is accurate. (AR 405.)

16          The ALJ stated that in November of 2018, Plaintiff “reported her knee was better, rating

17 her pain at 2 out of 10 on an average day, and she was satisfied with the results of her surgery.”

18 (AR 28.)      The ALJ also noted that Dr. Surdyka noted Plaintiff “was ambulating without

19 assistance, she was able to do a straight leg raise, and she was full weigh bearing, having made
20 significant progress using physical therapy.” (Id.) This is accurate. Specifically, on November

21 8, 2018, Plaintiff appeared for a post-operation check, with Dr. Surdyka. The record indicates

22 that Plaintiff stated her right knee pain was 2 out of 10 on an average day in severity, that she has

23 used physical therapy with significant progress from the patient’s perspective in the

24 postoperative period, that she believes the knee pain is getting better, and that she is satisfied

25 with the current results. (AR 309.) On a gait exam, Plaintiff was noted as ambulating without

26 assistance, and also that she was able to do a straight leg raise. (Id.) However, while the main
27 summary indicates a pain level of 2 out of 10, the Court notes that the record also indicates in the

28 Impression/Plan area, a pain level of 4 out of 10. (Id.) It is not clear what the root of the


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            Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 12 of 31


 1 discrepancy is, and appears to be an inverse of the above. (See AR 304, 309.)

 2          The ALJ acknowledged that in December of 2018, Plaintiff “reported her knee at 5 out of

 3 10 on an average day, but she felt her knee was better and the examiner observed that she

 4 ambulated without assistance and had no pain with full range of motion.” (AR 28-29.) This

 5 record reflects that on December 27, 2018, Plaintiff did report a level 5 of pain, but also that she

 6 believed the pain was better, and that she was satisfied with the results. (AR 314.) The gait

 7 exam showed Plaintiff ambulating without assistance, and the range of motion demonstrated 120

 8 degrees with no pain with full range of motion. (Id.) Here, under Impression/Plan, the pain level

 9 does reflect the same reported level of 5. (Id.)

10          The ALJ then moved forward to June of 2019, noting the following:

11                 By June 2019, a little less than a year after the claimant’s alleged
                   disability onset date, she appears to have recovered pretty well
12                 from her right knee arthroplasty (Ex. 5F/1). During a follow-up
                   evaluation with Dr. Surdyka, the claimant reported only occasional
13                 functional limitations and that her condition was better. The
                   surgeon noted that claimant had “no pain with full [range of
14                 motion]; her knee had normal alignment, no deformity, no
                   tenderness and her lower extremity was “neurovascularly intact,”
15                 with 4+ strength in the right quadriceps and full 5/5 strength in the
                   right hamstring with normal muscle tone (Id). Dr. Surdyka noted
16                 claimant’s pain was 2 out of 10 in severity, assessed her knee as
                   stable and noted she was ambulating without assistance (Id).
17                 Significantly, Dr. Surdyka concluded claimant “has had a full
                   recovery with no restrictions,” achieving “maximal recovery
18                 level.” The doctor further advised claimant to continue with
                   physical therapy or home exercise program (Id).
19
20 (AR 29.) The ALJ’s description is accurate of the June 6, 2019, record. (AR 433 (“patient has

21 had a full recovery with no restrictions”).) Plaintiff did report that the right knee pain was

22 exacerbated by activity, that the pain was described as cramp-like and burning and associated

23 with thigh pain, low back pain, and limping, but also that physical therapy and NSAIDs partially

24 alleviated symptoms. (Id.)

25          The ALJ acknowledged some records reflected ongoing right knee/lower extremity

26 symptoms and limitations, but found the records did not support greater limitations. (AR 29.)
27 Specifically the ALJ noted in February of 2019, Plaintiff reported that due to knee pain, she had

28 been walking two times per week. (AR 29.) The Court notes that it appears the ALJ mistook the


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             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 13 of 31


 1 Plaintiff’s birth month for the office visit date, as the record referenced appears to be dated

 2 November 7, 2019, not February of 2019. (Ex. 7F at 60, AR 496.) The record notes that

 3 Plaintiff complains of “pain in both knee x2 months she’s taking naproxen for pain but pt states

 4 it's not helping anymore . . . reports she walks 2 times per week due to kneed pain that worsen

 5 x4/weeks ago.” (AR 496.) It does not appear the ALJ’s reference to February instead of

 6 November necessarily impacted the ALJ’s intended reasoning, as the ALJ placed the description

 7 of this record after the June 2019 record, and began the description by stating these were

 8 “subsequent treatment records [that] reflect some ongoing right knee/lower extremity

 9 symptoms/limitations.” (AR 29.) Thus, while the ALJ wrote February, the ALJ’s analysis

10 implied the record was subsequent to the June 2019 record. (Id.)

11          Thereafter, the ALJ moved on to June of 2020. (Id.) The ALJ noted that

12                 During a June 2020 follow-up evaluation for claimant’s right knee,
                   Dr. Surdyka noted claimant’s report of “no major knee symptoms”
13                 including “never or rarely causes limping,” severe only “after
                   walking 30 minutes or more,” “not affect ability to climb a flight
14                 of stairs,” and “affects the ability to perform household shopping
                   to no extent at all” (Ex. 6F/1). In addition, the claimant reported
15                 her “knee pain/symptoms is 1 out of 10 on an average day” (Id).
                   On exam, Dr. Surdyka noted claimant’s knee had normal
16                 alignment with no deformity, no tenderness, no warmth; her right
                   quadriceps and hamstring strength was full 5/5 with normal muscle
17                 tone, and her right knee was “stable” and “normal” (Id). Dr.
                   Surdyka again assessed claimant as having “had a full recovery
18                 with no restrictions” and “achieved … maximal recovery level”
                   (Id).
19
20 (AR 29.) The ALJ’s description is accurate as to the June 4, 2020, record from Dr. Surdyka.

21 (AR 435.) The Court notes that the Plaintiff there also reported that the right knee pain was

22 exacerbated by activity and that it becomes severe after walking 30 minutes or more. (Id.) Thus,

23 despite the report of difficulty after walking 30 minutes, Plaintiff reported the knee pain does not

24 affect the ability to climb stairs or do household shopping, reported her “knee pain/symptoms

25 [were] 1 out of 10 on an average day,” and an examination was essentially normal, with no

26 deformity; no tenderness; no warmth; no instability; and full (5/5) strength in her right
27 quadriceps and hamstring (AR 435). Plaintiff’s surgeon repeated that she had no restrictions.

28 (AR 435.)


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            Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 14 of 31


 1         The Court now excerpts the Plaintiff’s summary of the evidence regarding the left knee,

 2 before reviewing the ALJ’s findings pertaining to the left knee:

 3                 After several weeks of physical therapy, Plaintiff returned to Dr.
                   Surdyka. She explained that she still had cramping and “burning
 4                 pain” radiating up the thigh. She noted that she continued to limp.
                   Physical therapy and NSAIDs were said to only “partially” relieve
 5                 her symptoms. (AR 433). While Dr. Surdyka opined that the right
                   knee was “recovered,” he noted that Plaintiff should have
 6                 continuing therapy for the left knee and restricted weight bearing
                   on the left side to “as tolerated.” (AR 434).
 7
                   On August 5, 2019, Plaintiff returned to her primary care providers
 8                 where exam revealed redness and swelling of both lower
                   extremities and Doppler exams were ordered. (AR 515). While the
 9                 Doppler studies returned normal results (AR 550, 551), on
                   September 6, 2019, Plaintiff still reported continuous knee pain
10                 without improvement and the providers noted bilateral varicose
                   veins. (AR 508). As the Doppler studies were normal. Her primary
11                 care provider ordered x-ray of the left knee. Plaintiff had reported
                   that Naproxen was no longer controlling her pain. (AR 501).
12
                   The November 28, 2019 x-ray of the knee was within normal
13                 limits. (AR 549). Nevertheless on December 9, 2019, Plaintiff
                   reported to her primary care provider, Wendy Arzinga that she was
14                 having pain in the left knee and exam was positive for bilateral
                   knee tenderness. (AR 477, 480). An MRI was ordered.
15
                   The February 28, 2020 MRI of the left knee was positive for a
16                 1.5cm “large osteochondral lesion” at the medial aspect of the
                   lateral femoral condyle, anteriorly, with high grade chondral lose,
17                 and mid subarticular bony edema. (AR 547, 568). A referral to an
                   orthopedist for the left knee was executed. (AR 459). On March
18                 19, 2020, Plaintiff met with orthopedic surgeon Dr. Srivastava. She
                   consistently reported knee pain that interrupted her ability to
19                 perform ADLs and sleep. (AR 566). Exam was positive for
                   decreased range of motion, crepitus and MacMurray’s and
20                 Lachman’s special tests. Dr. Srivastava recommended surgery.
                   (AR 567). On May 29, 2020, partial medial meniscectomy and
21                 lateral meniscectomy were performed by Dr. Srivastava. (AR 576).
22                 On June 4, 2020, Plaintiff returned to the first surgeon, Dr.
                   Surdyka regarding the right knee. She reported that she continued
23                 to have severe pain after walking only thirty minutes. She noted
                   that she’d resorted to icing the knee and elevating the leg for pain
24                 relief. (AR 435). Exam of the knee was within normal limits. (Id).
                   Relative to the left knee, Plaintiff’s began physical therapy post-
25                 surgery on June 15, 2020. (AR 589). Quadricep strength on the left
                   was 3+/5. Plaintiff’s gait was antalgic. She had “decreased stance
26                 time.” (Id). By the final note of the Record, July 1, 2020, Plaintiff
                   still had not achieved physical therapy goals, but was “making
27                 progress.” (AR 581).
28 (Br. 4-5.)


                                                    14
            Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 15 of 31


 1         As to the left knee, the ALJ acknowledged that Plaintiff reported some knee pain and

 2 issues in late 2019 and early 2020, the MRI, and the partial medial meniscectomy surgery,

 3 however, found the treatment and exam records did not support allegations of disabling

 4 symptoms:

 5                 As to claimant’s left knee, treating records in late 2019 and early
                   2020 note her report of some knee pain and issues, an MRI
 6                 revealed a large osteochrondral lesion with high-grade chondral
                   loss and osteoarthritic changes, and she underwent partial medial
 7                 meniscectomy surgery, May 2020 (Ex. 8F/8, 16, 18-19; 9F/20-21,
                   24). However, treatment/exam records do not support allegations
 8                 of disabling limitations. The claimant’s pre-operative left knee
                   examination indicated some tenderness, “mild swelling” and
 9                 positive McMurray’s test; however, active range of motion of 0 to
                   120 degrees flexion, negative Drawer and Lachman tests, and her
10                 “neurovascular intact” (Ex. 8F/19; 9F/21). The claimant underwent
                   a course of physical therapy after left knee surgery, and two weeks
11                 post-operatively, a provider noted she was ambulating with pain
                   and standing more than 10 minutes (Ex. 9F/10). By July 2020, a
12                 physical therapist noted claimant had some ongoing soreness on
                   calves and in front of knee but “less knee pain overall” and
13                 assessed her as making progress (Ex. 9F/2).
14 (AR 29.)

15         As noted, two weeks after surgery, on June 15, 2020, Plaintiff reported “ambulating with

16 pain and standing more than 10 mins. Pt states the pain was intense prior to [surgery] . . . .Pt.

17 reports difficulty with HH chores due to pain and points to the back of the knee and calf.” (AR

18 589.) The assessment noted that the presentation was consistent with post-operation, with the

19 left knee having decreased range of motion and weight bearing tolerance, and noted that Plaintiff
20 “has good rehab potential with attainable functional improvement and requires skilled therapy in

21 order to improve ROM, strength and gait.” (Id.) As the ALJ then noted, two weeks later on July

22 1, 2020, and as Defendant emphasizes, the most recent treatment note in the record, Plaintiff

23 reported for physical therapy, and it was noted “[l]ess knee pain overall but the back of the LE

24 gets sore on the calves as does the front of the knee,” and that Plaintiff was “making progress

25 with [weight bearing] and therex goals with less tissue irritability since starting therapy.” (AR

26 581.)
27         The ALJ then concluded that he could not defer or give any specific evidentiary weight,

28 including controlling weight, to any prior administrative medical finding(s) or medical


                                                   15
            Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 16 of 31


 1 opinion(s), including those from medical sources. (AR 30.) The ALJ summarized the State

 2 agency medical opinions:

 3                State agency medical consultants R. Fast, M.D., and C. Bullard,
                  M.D., reviewed the record in October 2018 and November 2018,
 4                respectively, and assessed the claimant as capable of performing
                  work at the medium exertional level beginning twelve months after
 5                her alleged onset date (Ex. 2A; 4A/7-9; 6A; 8A/8-10). This
                  assessed capacity includes the ability to lift and/or carry up to 50
 6                pounds occasionally and 25 pounds frequently, stand and/or walk
                  for about 6 hours in an 8-hour workday, and sit for about 6 hours
 7                in an 8-hour day. The medical consultants further assessed postural
                  limitations to no more than occasional climbing of
 8                ladders/ropes/scaffolds and stairs/ramps, and occasional balance,
                  stooping, kneel, crouching and crawling. In addition, the medical
 9                consultants assessed environmental restrictions that claimant avoid
                  even moderate exposure to hazards and no more than occasional
10                uneven terrain (Id). In support of this assessment, Dr. Fast noted
                  the statement of claimant’s orthopedic surgeon (Dr. Surdyka) in
11                December 2018 indicating that claimant could not return to
                  perform her agricultural fieldwork, but Dr. Fast projected that
12                beginning July 2019, the claimant would have the capacity to
                  perform medium exertional level work with limited climbing and
13                postural (Ex. 8A/10). Dr. Bullard affirmed Dr. Fast’s assessment of
                  capacity for medium exertional work, noting that while claimant
14                alleges progression of her symptoms, “she is recovering as
                  expected from her [total knee arthroplasty] and on January 9, 2019,
15                she was [discharged] from [physical therapy].” Dr. Bullard further
                  noted that as of March 2019, claimant “was only on NSAIDS for
16                pain control” (Id).
17 (AR 30.) The ALJ considered the State agency medical opinions somewhat persuasive, but

18 found the assessment inconsistent with the treating physician’s opinion as based on a more

19 longitudinal view, and found greater limitations were proper than those assessed by the State
20 agency medical opinions:

21                These assessments are somewhat persuasive. The state agency
                  medical consultants have specialized expertise in medical
22                impairments, as well as knowledge of Social Security Act
                  disability programs and regulations, and based their assessment on
23                the medical record at the time of review, including the objective,
                  clinical findings. However, the medical consultants had the
24                opportunity to review only some of the medical record through
                  2018. While these assessments are based on objective medical
25                findings (e.g., imaging, surgeries, knee joint pain/tenderness with
                  decreased range of motion one exams), the undersigned finds the
26                assessment of work capacity at the medium exertional level
                  overestimates the claimant’s functional capacities given her
27                documented surgical history and ongoing knee complaints, and is
                  inconsistent with the assessment by claimant’s treating physician.
28                Based on the longitudinal record, including medical evidence


                                                  16
            Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 17 of 31


 1                 received at the hearing level, the undersigned finds that the overall
                   record supports greater limitations in lifting/carrying at the light
 2                 exertional level. Nevertheless, the medical consultants’ overall
                   assessment reinforces that claimant’s impairments would not
 3                 preclude her from performing work at the light exertional level.

 4 (AR 30-31.)

 5          The Court finds the ALJ properly considered that although the medical consultants

 6 supported their findings with evidence in the record at the time—late 2018 and early 2019—

 7 subsequent evidence that they did not consider indicated that Plaintiff was incapable of medium

 8 work (AR 30-31), and that the findings supported a determination that Plaintiff could do light

 9 work. See 20 C.F.R. § 404.1520c(c)(1)-(2) (ALJ evaluates medical opinions as to supportability

10 and consistency with the record evidence to determine persuasiveness); Woods v. Kijakazi, 32

11 F.4th 785, 792 (9th Cir. 2022) (“The agency must ‘articulate ... how persuasive’ it finds ‘all of

12 the medical opinions’ from each doctor or other source, 20 C.F.R. § 404.1520c(b), and ‘explain

13 how [it] considered the supportability and consistency factors’ in reaching these findings.”)

14 (citations omitted).

15          The ALJ also found Plaintiff’s orthopedic surgeon’s opinion persuasive and supported a

16 determination that Plaintiff is no longer able to perform work at the heavy or medium exertional

17 level:

18                 Orthopedic surgeon Dr. Surdyka opined (December 2018) that
                   claimant would not be able to perform her past farm fieldwork on a
19                 permanent basis status-post right knee arthroplasty (replacement)
                   (Ex. 1F/21). This assessment is persuasive. The treating provider
20                 had the opportunity to perform the claimant’s knee surgery, and
                   had examined and treated the claimant on multiple occasions
21                 during the adjudicative period. The opinion is consistent with the
                   objective medical evidence and overall record, and supports that
22                 claimant is no longer able to perform work at the medium or heavy
                   exertional level.
23

24 (AR 31.) The Court also finds the ALJ’s analysis and findings pertaining to Dr. Surdyka satisfy

25 the regulations and applicable law. See 20 C.F.R. § 404.1520c(c)(1)-(2); Woods, 32 F.4th at

26 792.
27          The ALJ then concluded that “[a]fter considering all of the evidence, the undersigned has

28 determined that a limitation to light exertional-level work subject to the postural and


                                                    17
            Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 18 of 31


 1 environmental/hazard restrictions as set for above is a correct assessment of the claimant’s

 2 residual functional capacity,” and that “[w]hile the claimant has some ongoing impairments, the

 3 objective medical evidence record does not support limitations to the extent alleged.” (AR 31.)

 4          Based on the above review of the ALJ’s opinion, the relevant medical records, and the

 5 applicable law, the Court disagrees with Plaintiff’s contention that the ALJ erred here because

 6 once an ALJ determines that none of the available opinion evidence captures the totality of a

 7 claimant’s functional limitations, the ALJ faces an evidentiary deficit. Plaintiff refers the Court

 8 to Banks, wherein the court provided the following legal standards:

 9                 An “ ‘ALJ cannot arbitrarily substitute his own judgment for
                   competent medical opinion ... [,]’ ” Balsamo v. Chater, 142 F.3d
10                 75, 81 (2d Cir.1998) (citations omitted); Day v. Weinberger, 522
                   F.2d 1154, 1156 (9th Cir.1975), and he “must not succumb to the
11                 temptation to play doctor and make [his] own independent medical
                   findings.” Rohan v. Chater, 98 F.3d 966, 970 (7th Cir.1996).
12                 Rather, the ALJ's RFC determination or finding must be supported
                   by medical evidence, particularly the opinion of a treating or an
13                 examining physician. Cf. Penny v. Sullivan, 2 F.3d 953, 958 (9th
                   Cir.1993) (“Without a personal medical evaluation it is almost
14                 impossible to assess the residual functional capacity of any
                   individual.”); Nelson v. Heckler, 712 F.2d 346, 348 (8th Cir.1983)
15                 (per curiam) (“ ‘[T]o attempt to evaluate disability without
                   personal examination of the individual and without evaluation of
16                 the disability as it relates to the particular person is medical
                   sophistry at its best.’ ” (citation omitted)). However, where “the
17                 record contains conflicting medical evidence, the ALJ is charged
                   with determining credibility and resolving the conflict.” Benton v.
18                 Barnhart, 331 F.3d 1030, 1040 (9th Cir.2003); Batson v.
                   Commissioner of the Soc. Sec. Admin., 359 F.3d 1190, 1195 (9th
19                 Cir.2004).
20                 Here, Dr. Ella–Tamayo diagnosed plaintiff as status post-
                   laryngectomy and tracheostomy, and found he is able to do the full
21                 range of medium work, with no speech or environmental
                   limitations. A.R. 664–70. Dr. Ella–Tamayo's opinions constitute
22                 substantial evidence to support the RFC determination or finding
                   by the ALJ.12 Tonapetyan v. Halter, 242 F.3d 1144, 1149 (9th
23                 Cir.2001).
24 Banks, 434 F. Supp. 2d at 805–06. Defendant responds that the quotation from Banks is empty

25 boilerplate, which the Banks court did not specifically apply to the facts of the case. While there

26 was no error in Banks under that standard, more importantly here, the Court finds the ALJ did
27 not arbitrarily substitute his own judgment for that of another medical opinion, the records did

28 include personal medical evaluations of the Plaintiff, and the ALJ weighed the opinions and all


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             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 19 of 31


 1 of the evidence in the record, reasonably resolving any conflicting evidence.

 2          Plaintiff also cites Padilla, however, Defendant is correct that case involved an ALJ who

 3 improperly determined that the claimant had no severe impairments, based on contradictory

 4 testimony from a medical expert, and wholly distinguishable from the facts and challenge here.

 5 See Padilla, 541 F. Supp. 2d 1102, 1107 (C.D. Cal. 2008) (“Here, based solely on the testimony

 6 of Dr. Gerber, the ALJ found plaintiff does not have a severe impairment or combination of

 7 impairments . . . [h]owever, in addition to opining plaintiff does not have a severe impairment . .

 8 . Dr. Gerber agreed with Dr. Siciarz's opinion that plaintiff can perform the ‘medium range of

 9 activity with the addition of [a] seizure precaution[,]’ [and thus] [t]hese opinions of Dr. Gerber’s

10 are inconsistent and ambiguous.”).

11          As for Plaintiff’s citation to Lamas, Defendant concedes the case is relevant, but argues it

12 contradicts Plaintiff’s argument as although the court determined the ALJ erred by determining

13 the claimant’s RFC without relying on an opinion, that error was harmless because—just like in

14 this case—the RFC limitations were more restrictive than the medical opinions. First, the Court

15 finds Lamas distinguishable in that there, the court found that in addition to the mental RFC

16 being based solely on treatment notes and testimony, the treatment notes did not provide

17 sufficient indications of Plaintiff’s functional limitations:

18                  The Commissioner contends that, because the evidence is
                    susceptible to more than one rational interpretation, the ALJ's
19                  conclusion must be upheld. (Doc. No. 20 at 9.) However, the ALJ
                    in this case did not simply synthesize the medical evidence and
20                  opinions to reach an RFC determination. The ALJ's RFC
                    determination regarding Plaintiff's mental impairments appears to
21                  be based solely on treatment notes and Plaintiff's
                    testimony. See AR 30. However, Plaintiff's treatment notes do not
22                  provide sufficient indications of Plaintiff's functional limitations
                    and are unclear as to their impact on Plaintiff's ability to work.
23                  Thus, the ALJ apparently formulated an RFC based on his
                    interpretation of the medical evidence, which is improper. The ALJ
24                  was not qualified to translate the data into functional limitations
                    and engage in his “own exploration and assessment” of Plaintiff's
25                  impairments. See McAnally v. Berryhill, 2020 WL 1443734, at *7
                    (S.D. Cal. Mar. 25, 2020) (quoting Day v. Weinberger, 522 F.2d
26                  1154, 1156 (9th Cir. 1975)).
27 Lamas v. Saul, No. 1:19-CV-00852-BAM, 2020 WL 6561306, at *9 (E.D. Cal. Nov. 9, 2020).

28 Here, the Court finds the examination notes above, particularly the post-operative notes, do


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             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 20 of 31


 1 provide numerous indications of functional limitations as to Plaintiff’s knees. The Court also

 2 agrees Lamas indicates that any error here would be harmless. 2020 WL 6561306, at *10 (“The

 3 Court finds that the ALJ’s error in this case was harmless [as] [t]he limitations that the ALJ

 4 included in the RFC pertaining to Plaintiff's mental impairments were more restrictive than those

 5 to which the medical opinions of record opined, yet the ALJ nonetheless found that there would

 6 be work available with those more stringent limitations.”); see also Johnson v. Shalala, 60 F.3d

 7 1428, 1436 n.9 (9th Cir. 1995) (“[T]his overinclusion of debilitating factors is harmless simply

 8 because if a person can do a job that requires increased concentration, the claimant is also

 9 capable of performing work that requires less concentration.”).

10          As for Plaintiff’s argument that the ALJ did not adequately cite evidence to show that she

11 was more limited than Drs. Fast and Bullard opined (Br. 9-10), the Court agrees with Defendant

12 that the ALJ did so in his preceding discussion of the evidence (AR 28-30), and that the Court

13 considers the agency’s decision as a whole. Kaufmann v. Kijakazi, 32 F.4th 843, 851 (9th Cir.

14 2022) (“Looking to all the pages of the ALJ's decision, the court held that, contrary to its original

15 ruling, the ALJ had, in fact, explained which daily activities conflicted with which parts of

16 Claimant’s testimony.”) (emphasis in original). The Court agrees that looking to those preceding

17 pages, it is apparent that the ALJ was referring to evidence such as Plaintiff’s later knee surgery

18 that these medical consultants did not see. (AR 30-31.)

19          As for Plaintiff’s argument that the ALJ was required to explain why “he failed to assess

20 any” other limitations (Br. 10), the Court agrees with Defendant that the ALJ was not required to

21 discuss a range of possible conclusions and then explain why he picked one, as Plaintiff implies.

22 See Jamerson v. Chater, 112 F.3d 1064, 1067 (9th Cir. 1997) (“[T]he key question is not whether

23 there is substantial evidence that could support a finding of disability, but whether there is

24 substantial evidence to support the Commissioner’s actual finding that claimant is not

25 disabled.”).    The Court also finds that the evidence here was not ambiguous, and it was

26 reasonable for the ALJ to determine that the evidence reviewed meant Plaintiff could perform
27 light work with additional exertional and postural limitations.

28          In consideration of the record, the ALJ’s opinion, the parties’ arguments, and applicable


                                                     20
             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 21 of 31


 1 law, the Court finds no error in the ALJ’s RFC determination. As previously noted, the RFC is

 2 not a medical opinion, but a legal decision that is expressly reserved for the Commissioner. See

 3 20 C.F.R. §§ 404.1527(d)(2); 404.1546(c); Vertigan, 260 F.3d at 1049 (“It is clear that it is the

 4 responsibility of the ALJ, not the claimant’s physician, to determine residual functional

 5 capacity.”) (citing 20 C.F.R. § 404.1545). And where “the record contains conflicting medical

 6 evidence, the ALJ is charged with determining credibility and resolving the conflict.” Benton v.

 7 Barnhart, 331 F.3d 1030, 1040 (9th Cir. 2003); Batson, 359 F.3d at 1195; see also Lingenfelter,

 8 504 F.3d at 1042 (“When evaluating the medical opinions of treating and examining physicians,

 9 the ALJ has discretion to weigh the value of each of the various reports, to resolve conflicts in

10 the reports, and to determine which reports to credit and which to reject.”); Morgan v. Comm’r

11 of Soc. Sec. Admin., 169 F.3d 595, 603 (9th Cir. 1999) (holding that ALJ was “responsible for

12 resolving conflicts” and “internal inconsistencies” within doctor’s reports); Tommasetti, 533

13 F.3d at 1041–42 (“[T]he ALJ is the final arbiter with respect to resolving ambiguities in the

14 medical evidence.”).

15          The ALJ was not required to adopt the findings or opinion of a physician but rather was

16 required to determine the RFC based on all of the evidence in the record. See 20 C.F.R. §

17 404.1527(d)(2) (“Although we consider opinions from medical sources on issues such as . . .

18 your residual functional capacity . . . the final responsibility for deciding these issues is reserved

19 to the Commissioner.”); Rounds v. Comm’r of Soc. Sec., 807 F.3d 996, 1006 (9th Cir. 2015)
20 (“the ALJ is responsible for translating and incorporating clinical findings into a succinct RFC”);

21 Vertigan, 260 F.3d at 1049 (“It is clear that it is the responsibility of the ALJ, not the claimant’s

22 physician, to determine residual functional capacity.”). The regulations provide that the agency

23 “will not defer or give any specific evidentiary weight, including controlling weight, to any

24 medical opinion(s) or prior administrative medical finding(s), including those from your medical

25 sources.” 20 C.F.R. § 404.1520c(a).

26          The Court finds the ALJ utilized substantial evidence in the record in making the RFC

27 determination, and Plaintiff has not demonstrated remandable error. To the extent Plaintiff

28 argues the record needs to be further developed or by ordering a consultative exam, the facts in


                                                     21
                 Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 22 of 31


 1 this case are not similar to other instances in which the ALJ was found to have a duty to further

 2 develop the record. See Ludwig v. Astrue, 681 F.3d 1047, 1055 n. 30 (9th Cir. 2012) (“An

 3 ALJ’s duty to develop the record further is triggered only when there is ambiguous evidence or

 4 when the record is inadequate to allow for proper evaluation of the evidence.” (quoting Mayes v.

 5 Massanari, 276 F.3d 453, 459–60 (9th Cir.2001))); Tonapetyan, 242 F.3d at 1150-51 (ALJ erred

 6 by relying on testimony of physician who indicated more information was needed to make

 7 diagnosis); Hilliard v. Barnhart, 442 F.Supp.2d 813, 818-19 (N.D. Cal. 2006) (ALJ erred by

 8 failing to develop record where he relied on the opinion of a physician who recognized he did

 9 not have sufficient information to make a diagnosis); see also Lamas, 2020 WL 6561306, at *11

10 (“The ALJ did not find that the record was ambiguous or inadequate to determine disability, nor

11 does Plaintiff identify any ambiguous or unclear treatment notes, medical opinions, or other

12 evidence.”).

13             Accordingly, the Court concludes the ALJ’s RFC determination to be proper, reasonable,

14 based on substantial evidence in the record, and not deficient due to lack of a directly adopted

15 medical opinion. See Smolen, 80 F.3d at 1279 (substantial evidence more than a scintilla, but

16 less than a preponderance); Burch, 400 F.3d at 679 (“Where evidence is susceptible to more than

17 one rational interpretation, it is the ALJ’s conclusion that must be upheld.”). Here, the ALJ

18 looked at the evidence and reached a reasonable conclusion about Plaintiff’s limitations based on

19 that evidence. As Defendant emphasizes, there is “a presumption that ALJs are, at some level,
20 capable of independently reviewing and forming conclusions about medical evidence to

21 discharge their statutory duty to determine whether a claimant is disabled and cannot work.”

22 Farlow v. Kijakazi, 53 F.4th 485, 488 (9th Cir. 2022)6; Tommasetti, 533 F.3d at 1041–42 (“[T]he

23 ALJ is the final arbiter with respect to resolving ambiguities in the medical evidence.”); Batson,

24 359 F.3d at 1193 (“[T]he Commissioner's findings are upheld if supported by inferences

25 reasonably drawn from the record . . . and if evidence exists to support more than one rational

26 interpretation, we must defer to the Commissioner's decision.”) (citations omitted).
27
     6
         The Court notes the Ninth Circuit was observing this presumption in relation to the ability of the ALJ to evaluate
28 and give weight to physician opinions. 53 F.4th at 488.


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              Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 23 of 31


 1
             B.       The Court Finds the ALJ Provided Clear and Convincing Reasons to
 2                    Discount Plaintiff’s Symptom Testimony and Did Not Err in Deciding to
                      Omit Such Limitations from the RFC Assessment
 3

 4           Plaintiff argues the ALJ failed to include work-related limitations in the RFC consistent

 5 with the nature and intensity of Plaintiff’s limitations, and failed to offer legitimate reasons for

 6 rejecting Plaintiff’s subjective complaints. (Br. 11.)

 7           1.       The Clear and Convincing Standard for Evaluating Symptom Testimony7

 8           “An ALJ is not required to believe every allegation of disabling pain or other non-

 9 exertional impairment.” Orn, 495 F.3d at 635 (internal punctuation and citations omitted).

10 Determining whether a claimant’s testimony regarding subjective pain or symptoms is credible

11 requires the ALJ to engage in a two-step analysis. Molina v. Astrue, 674 F.3d 1104, 1112 (9th

12 Cir. 2012). The ALJ must first determine if “the claimant has presented objective medical

13 evidence of an underlying impairment which could reasonably be expected to produce the pain

14 or other symptoms alleged.” Lingenfelter, 504 F.3d at 1036 (internal punctuation and citations

15 omitted). This does not require the claimant to show that her impairment could be expected to

16 cause the severity of the symptoms that are alleged, but only that it reasonably could have caused

17 some degree of symptoms. Smolen, 80 F.3d at 1282.

18           Second, if the first test is met and there is no evidence of malingering, the ALJ can only

19 reject the claimant’s testimony regarding the severity of her symptoms by offering “clear and
20 convincing reasons” for the adverse credibility finding. Carmickle v. Commissioner of Social

21 Security, 533 F.3d 1155, 1160 (9th Cir. 2008). The ALJ must make findings that support this

22 conclusion and the findings must be sufficiently specific to allow a reviewing court to conclude

23 the ALJ rejected the claimant’s testimony on permissible grounds and did not arbitrarily discredit

24 the claimant’s testimony. Moisa v. Barnhart, 367 F.3d 882, 885 (9th Cir. 2004).

25           Factors that may be considered in assessing a claimant’s subjective pain and symptom

26 testimony include the claimant’s daily activities; the location, duration, intensity and frequency
27   7
      Although Defendant maintains disagreement with the standard in order to preserve the issue for future appeals,
     Defendant acknowledges the clear and convincing standard is the applicable standard for weighing credibility in the
28   Ninth Circuit. (Opp’n 7 n.4.)


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             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 24 of 31


 1 of the pain or symptoms; factors that cause or aggravate the symptoms; the type, dosage,

 2 effectiveness or side effects of any medication; other measures or treatment used for relief;

 3 functional restrictions; and other relevant factors. Lingenfelter, 504 F.3d at 1040; Thomas, 278

 4 F.3d at 958. In assessing the claimant’s credibility, the ALJ may also consider “(1) ordinary

 5 techniques of credibility evaluation, such as the claimant’s reputation for lying, prior inconsistent

 6 statements concerning the symptoms, and other testimony by the claimant that appears less than

 7 candid; [and] (2) unexplained or inadequately explained failure to seek treatment or to follow a

 8 prescribed course of treatment.” Tommasetti, 533 F.3d at 1039 (quoting Smolen, 80 F.3d at

 9 1284).

10          2.      Plaintiff’s Arguments

11          Plaintiff argues the ALJ failed to set forth reasons, consistent with and supported by the

12 evidence, for discounting Plaintiff’s complaints of symptoms related the consecutive

13 impairments of the bilateral knees. Plaintiff contends the first reason amounts to utilizing

14 objective evidence alone, and fails to follow the proper standards, and the ALJ fails to provide

15 any clear and convincing reason for disputing Plaintiff’s statements regarding the limiting

16 factors. (Br. 12.) Plaintiff suggests that the ALJ recites medical evidence (AR 22-24), but

17 provides no nexus between the evidence and the ALJ’s finding of inconsistency. Plaintiff

18 submits that mere recitation of evidence fails to meet the “clear and convincing” standard. See

19 Lambert v. Saul, 980 F.3d 1266, 1278 (9th Cir. 2020) (“Although the ALJ did provide a
20 relatively detailed overview of Lambert’s medical history, ‘providing a summary of medical

21 evidence ... is not the same as providing clear and convincing reasons for finding the claimant's

22 symptom testimony not credible.’ ” (emphasis in quoted source) (quoting Brown-Hunter, 806

23 F.3d at 494)).

24          As for “reported activities/demonstrated functioning,” Plaintiff argues this finding lacks

25 specificity entirely, as for instance, Plaintiff’s “reported activities” regularly indicate that she is

26 unable to stand or walk for prolonged periods, affecting her ability to perform activities of daily
27 living (AR 45-46, 50, 51, 52, 54, 249, 252, 298, 307, 312, 314, 384, 403, 435, 504); also indicate

28 that Plaintiff must elevate her legs while seated (52-53, 314, 403); and also demonstrate that


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            Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 25 of 31


 1 Plaintiff relies on others to perform activities that require prolonged standing or walking (45-46,

 2 50).    Plaintiff contends that nowhere does the ALJ state how the reported activities are

 3 inconsistent with Plaintiff’s allegation that she is unable to stand or walk for prolonged periods,

 4 or requires a cane for ambulation due to bilateral knee pain that required surgical intervention.

 5 Plaintiff submits that the ALJ should have included the inability to stand and walk for more than

 6 thirty minutes and the requirement that Plaintiff use a cane due to pain, weakness, cramping and

 7 swelling of the bilateral lower extremities in the RFC.

 8         3.      The Court Finds the ALJ Properly Provided Clear and Convincing Reasons

 9         The ALJ summarized Plaintiff’s symptom testimony as follows:

10                 At the hearing, the claimant testified to ongoing problems with
                   bilateral knee pain and swelling that prevent her from working.
11                 She indicated that her only past work is as an agricultural field
                   worker, including having to lift crates weighing between 50 and 80
12                 pounds, and she can no longer lift more than 25 pounds. She
                   indicated that she does not speak or understand English but speaks
13                 and writes in Spanish. She indicated she is married, has six
                   children, and lives with her husband and three children.
14
                   She testified that before undergoing right knee surgery, the knee
15                 joint was “bone-on bone,” and the pain was unbearable, and pain
                   medications were not helping enough. She stated that she has been
16                 using cane for ambulating since her first knee surgery, noting she
                   uses always uses it when she goes outside the home. Since having
17                 right knee surgery, her pain is “not the same” but she still has pain,
                   and she cannot kneel down, or stand or walk for prolonged periods,
18                 noting she can stand only 10 minutes at a time with or without a
                   cane, and walk for up to 30 minutes at a time using a cane. She
19                 stated that her most recent surgery was on her left knee; she had
                   been supporting her weight on that knee since her right knee
20                 surgery, she developed worsening pain and imaging (x-ray and
                   MRI) showed thinning cartilage. She claimed she has not fully
21                 recovered from her left knee surgery; she still has a burning pain
                   and continues to use a cane.
22
                   She testified she also has swelling in her knees and has to elevate
23                 her legs and apply ice on both knees to reduce pain and swelling,
                   as well as help her sleep. She also indicated she has lost weight
24                 since before her surgeries by changing her diet, but has not lost
                   weight because of exercise noting if she were able to walk for
25                 exercise, she would lose more weight. The claimant further
                   testified to having issues with side effects from some of her
26                 medications including drowsiness and feeling fatigue. She further
                   testified to taking medications for depression and anxiety, and the
27                 anti-depressant causes her to feel drowsy. As to daily activities, the
                   claimant indicated her husband helps her with the household
28                 chores, including cleaning and cooking, noting she is able to stand


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             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 26 of 31


 1                  for only 10 minutes at a time due to problems with her knees and
                    surgeries. She noted that she helps load the laundry, and helps her
 2                  husband prepare the meals, as well as help her children with school
                    work at times. In addition, claimant will do some cleaning with
 3                  breaks, take naps, and shop for groceries with her husband.

 4 (AR 27.) The ALJ found that Plaintiff’s claims were “not entirely consistent with the medical

 5 evidence and other evidence in the record,” specifically finding “imaging studies, neuromuscular

 6 examinations, treatment records, and reported activities/demonstrated functioning are not

 7 consistent with the degree of disabling severity alleged.” (AR 28.)

 8          As summarized and reviewed above, the ALJ thoroughly evaluated the objective

 9 evidence. (AR 28-30.) As part of the overall analysis, the Court finds the ALJ properly found

10 the objective medical evidence did not support Plaintiff’s claims of disabling symptoms and

11 functional limitations. A lack of objective medical evidence is insufficient standing alone under

12 the clear and convincing standard. See 20 C.F.R. § 404.1529(c)(2) (“Objective medical evidence

13 of this type is a useful indicator to assist us in making reasonable conclusions about the intensity

14 and persistence of your symptoms and the effect those symptoms, such as pain, may have on

15 your ability to work . . . [h]owever, we will not reject your statements about the intensity and

16 persistence of your pain or other symptoms or about the effect your symptoms have on your

17 ability to work solely because the available objective medical evidence does not substantiate

18 your statements.”); Rollins v. Massanari, 261 F.3d 853, 857 (9th Cir. 2001) (“While subjective

19 pain testimony cannot be rejected on the sole ground that it is not fully corroborated by objective
20 medical evidence, the medical evidence is still a relevant factor in determining the severity of the

21 claimant’s pain and its disabling effects . . . [and] [t]he ALJ also pointed out ways in which

22 Rollins’ claim to have totally disabling pain was undermined by her own testimony about her

23 daily activities.”) (citing 20 C.F.R. § 404.1529(c)(2)); Vertigan, 260 F.3d at 1049 (“The fact that

24 a claimant’s testimony is not fully corroborated by the objective medical findings, in and of

25 itself, is not a clear and convincing reason for rejecting it.”); Burch, 400 F.3d at 680-81

26 (“Although lack of medical evidence cannot form the sole basis for discounting pain testimony,
27 it is a factor that the ALJ can consider in his credibility analysis.”).

28          Nonetheless, as this Court has maintained, there is a difference between a lack of


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             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 27 of 31


 1 objective medical evidence, and inconsistency with the objective medical evidence. See Garcia

 2 v. Comm’r of Soc. Sec., No. 1:21-CV-00328-BAK, 2022 WL 3908307, at *9–12 (E.D. Cal. Aug.

 3 30, 2022) (“The distinction between medical evidence simply failing to support a plaintiff's

 4 testimony and medical evidence being inconsistent is critical because the latter may qualify as a

 5 specific, clear, and convincing reason to reject a plaintiff's testimony while the former does

 6 not.”). Indeed, the Ninth Circuit has recently clarified this difference:

 7                 Claimants like Smartt sometimes mischaracterize Burch as
                   completely forbidding an ALJ from using inconsistent objective
 8                 medical evidence in the record to discount subjective symptom
                   testimony. That is a misreading of Burch. When objective medical
 9                 evidence in the record is inconsistent with the claimant’s
                   subjective testimony, the ALJ may indeed weigh it as undercutting
10                 such testimony. We have upheld ALJ decisions that do just that in
                   many cases. See, e.g., Chaudhry v. Astrue, 688 F.3d 661, 672–73
11                 (9th Cir. 2012) (affirming an ALJ's determination that interpreted
                   and preferred objective medical evidence to subjective
12                 testimony); Burch, 400 F.3d at 681 (affirming an ALJ's
                   discounting of subjective claims of disabling pain based on
13                 objective medical evidence and a claimant's daily
                   activities); Thomas, 278 F.3d at 959 (affirming an ALJ’s decision
14                 discounting a claimant's testimony after “finding no objective
                   medical evidence to support [claimant's] descriptions of her pain
15                 and limitations,” and “that [claimant] was able to perform various
                   household chores such as cooking, laundry, washing dishes, and
16                 shopping”); Osenbrock v. Apfel, 240 F.3d 1157, 1165–66 (9th Cir.
                   2001) (affirming an ALJ's rejection of allegations of disabling pain
17                 based on normal physical examinations).
18                 Instead, what Burch requires is that an ALJ cannot insist on clear
                   medical evidence to support each part of a claimant's subjective
19                 pain testimony when there is no objective testimony evincing
                   otherwise. That is, an ALJ cannot effectively render a claimant's
20                 subjective symptom testimony superfluous by demanding positive
                   objective medical evidence “fully corroborat[ing]” every allegation
21                 within the subjective testimony. Burch, 400 F.3d at 681; see
                   also Luna v. Bowen, 834 F.2d 161, 165 (10th Cir. 1987) (“If
22                 objective medical evidence must establish that severe pain exists,
                   subjective testimony serves no purpose at all.”). That—and only
23                 that—is what Burch forbids.
24                 Indeed, if Burch was applied as aggressively as Smartt insists, an
                   ALJ would be required in many cases to simply accept a claimant's
25                 subjective symptom testimony notwithstanding inconsistencies
                   between that testimony and the other objective medical evidence in
26                 the record, allowing a claimant's subjective evidence to effectively
                   trump all other evidence in a case. This misinterpretation
27                 of Burch conflicts with other precedents from our court, where
                   we've made clear that an ALJ is not “required to believe every
28                 allegation of disabling pain, or else disability benefits would be


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            Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 28 of 31


 1                 available for the asking, a result plainly contrary to” the Social
                   Security Act. Molina v. Astrue, 674 F.3d 1104, 1112 (9th Cir.
 2                 2012) (quoting Fair v. Bowen, 885 F.2d 597, 603 (9th Cir.
                   1989)), superseded on other grounds by 20 C.F.R. § 404.1502(a).
 3

 4 Smartt v. Kijakazi, 53 F.4th 489, 498–99 (9th Cir. 2022) (footnoted omitted).

 5         Here, as reviewed in the preceding section, the ALJ made extensive findings concerning

 6 Plaintiff’s reports of function and pain post-surgery that the Court finds reasonably demonstrate

 7 inconsistency with the Plaintiff’s claims of functional limitations and symptoms. (AR 28-29.)

 8 For example, the ALJ considered inconsistencies in the evidence, such as one of Plaintiff’s

 9 treatment providers telling her that she had reached full recovery “with no restrictions” after her

10 right knee procedure (AR 29, 435), and that only a few weeks after her right knee surgery,

11 Plaintiff reported that she had only mild or moderate difficulties with any movements (AR 28,

12 405). Therefore the Court finds the ALJ’s conclusion that the “neuromuscular examinations,

13 treatment records, and . . . demonstrated functioning are not consistent with the degree of

14 disabling severity alleged” (AR 28), was a clear and convincing reason to reject the claims.

15 Smartt, 53 F.4th at 498–99; Tommasetti, 533 F.3d at 1041; Carmickle, 533 F.3d at 1161.

16         Defendant argues the ALJ also properly considered Plaintiff’s activities as Plaintiff

17 reported driving very little and needing to rest while doing chores (AR 27), but also told her

18 treating surgeon that she was able to walk for 30 minutes at a time and her knee pain did not

19 affect her ability to shop “at all.” (AR 29, AR 435.)
20         The ALJ may consider the claimant’s daily activities in making a credibility

21 determination. See Diedrich v. Berryhill, 874 F.3d 634, 642-43 (9th Cir. 2017); Thomas, 278

22 F.3d at 958-59; 20 C.F.R. § 404.1529(c)(3)(i) (“Because symptoms sometimes suggest a greater

23 severity of impairment than can be shown by objective medical evidence alone, we will carefully

24 consider any other information you may submit about your symptoms . . . Factors relevant to

25 your symptoms, such as pain, which we will consider include: (i) Your daily activities.”).

26 However, “[o]ne does not need to be ‘utterly incapacitated’ in order to be disabled.” Vertigan,
27 260 F.3d at 1050 (citing Fair v. Bowen, 885 F.2d 597, 603 (9th Cir. 1989)). In fact, “many home

28 activities are not easily transferable to what may be the more grueling environment of the


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             Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 29 of 31


 1 workplace.” Fair, 885 F.2d at 603. Only if a claimant’s level of activities is inconsistent with

 2 her claimed limitations would activities of daily living have any bearing on the claimant’s

 3 credibility. Reddick, 157 F.3d 722.

 4          There are two ways an ALJ may use daily activities for an adverse credibility finding.

 5 Orn v. Astrue, 495 F.3d 625, 639 (9th Cir. 2007). First, daily activities can form the basis of an

 6 adverse credibility determination if the claimant’s activity contradicts the claimant’s testimony.

 7 Id. Second, “daily activities may be grounds for an adverse credibility finding ‘if a claimant is

 8 able to spend a substantial part of his day engaged in pursuits involving the performance of

 9 physical functions that are transferable to a work setting.’ ” Id. (quoting Fair v. Bowen, 885 F.2d

10 597, 603 (9th Cir. 1989)). The ALJ must make specific findings as to the daily activities and

11 their transferability to conclude that the claimant’s daily activities warrant an adverse credibility

12 determination. Orn, 495 F.3d at 639.

13          Here, although the Court finds the ALJ could have made explicit additional explanatory

14 connections between his findings regarding daily activities and why they were inconsistent with

15 the Plaintiff’s reported limitations, the Court finds sufficient support in the record to find the

16 ALJ’s reason was clear and convincing. See Smartt, 53 F.4th at 499 (“The standard isn't whether

17 our court is convinced, but instead whether the ALJ's rationale is clear enough that it has the

18 power to convince.”); Kaufmann, 32 F.4th at 851–52 (“Looking to the entire record, substantial

19 evidence supports the ALJ's conclusion that Claimant's testimony about the extent of her
20 limitations conflicted with the evidence of her daily activities, such as sewing, crocheting, and

21 vacationing.”); Lopez v. Colvin, No. 1:13-CV-00741-SKO, 2014 WL 3362250, at *16 (E.D. Cal.

22 July 8, 2014) (“While the ALJ did not explain that Plaintiff's daily activities were consistent with

23 specific work activity, the ALJ found Plaintiff's daily activities were inconsistent with the

24 severity of symptoms he alleged . . . [b]ecause Plaintiff's daily activities were inconsistent with

25 the disabling symptoms he alleged, the ALJ properly found such claims not credible.”).

26          Even if the ALJ erred in relying on daily activities, the Court finds the ALJ provided

27 additional clear and convincing records. In addition to a lack of, as well as inconsistency with,

28 objective medical evidence to support disabling limitations, the Court finds the ALJ properly


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            Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 30 of 31


 1 relied on his review of Plaintiff’s treatment and Plaintiff’s reporting of functional restrictions in

 2 supporting the credibility finding. (AR 28 (“imaging studies, neuromuscular examinations,

 3 treatment records, and reported activities/demonstrated functioning are not consistent with the

 4 degree of disabling severity alleged”).) The ALJ considered Plaintiff’s treatment, noting her

 5 knee surgeries, physical therapy, and recommendations to exercise more (AR 28-30, 314, 379,

 6 433, 501, 581, 589); and the ALJ noted that Plaintiff’s function and pain improved after surgeries

 7 on both her knees (AR 28-29, 314, 433, 581, 589).

 8          As noted above, factors that may be considered include the claimant’s daily activities; the

 9 location, duration, intensity and frequency of the pain or symptoms; factors that cause or

10 aggravate the symptoms; the type, dosage, effectiveness or side effects of any medication; other

11 measures or treatment used for relief; functional restrictions; and other relevant factors.

12 Lingenfelter, 504 F.3d at 1040; Thomas, 278 F.3d at 958.

13          As for Plaintiff’s argument that the ALJ merely summarized the evidence, the Court finds

14 the argument not supported. The ALJ began by laying out why he was discounting her claims—

15 they were “not entirely consistent with the medical evidence and other evidence in the record,”

16 pointing to “imaging studies, neuromuscular examinations, treatment records, and reported

17 activities/demonstrated functioning are not consistent with the degree of disabling severity

18 alleged”—and then went on to discuss the specific evidence supporting his assessment. (AR 28-

19 30). The Court concludes in agreement with Defendant that Plaintiff essentially requests the
20 Court to find the ALJ should have reached a different conclusion, but the record demonstrates

21 the ALJ accurately reviewed the evidence, some of which suggested greater functional

22 limitations and some of which suggested fewer functional limitations (AR 27-31). As noted

23 above, it is not this Court’s function to second guess the ALJ’s conclusions and substitute the

24 Court’s judgment for the ALJ’s; rather, if the evidence “is susceptible to more than one rational

25 interpretation, it is the ALJ’s conclusion that must be upheld.” Ford, 950 F.3d at 1154 (quoting

26 Burch, 400 F.3d at 679).
27          Accordingly, the Court rejects the Plaintiff’s challenges and finds no remandable error.

28 The Court finds the ALJ reasonably declined to find the record supported the full extent of


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            Case 1:21-cv-00618-SAB Document 25 Filed 04/07/23 Page 31 of 31


 1 Plaintiff’s subjective testimony, and provided clear and convincing reasons for doing so,

 2 supported by substantial evidence in the record. The Court finds no error in the ALJ’s omitting

 3 such allegations from the RFC. See Smartt, 53 F.4th at 499 (“The standard isn't whether our

 4 court is convinced, but instead whether the ALJ's rationale is clear enough that it has the power

 5 to convince.”); Kaufmann, 32 F.4th at 851–52; Orn, 495 F.3d at 635; Lingenfelter, 504 F.3d at

 6 1040; Thomas, 278 F.3d at 958.

 7                                                V.

 8                                  CONCLUSION AND ORDER

 9          Based on all of the foregoing reasons, the Court finds: (1) the ALJ’s determination of

10 Plaintiff’s RFC was proper and supported by substantial evidence; and (2) the ALJ provided

11 multiple clear and convincing reasons for rejecting Plaintiff’s symptomology evidence and

12 properly declined to include such work-related limitations in the RFC finding. The Court finds

13 the ALJ’s decision to be proper, supported by substantial evidence, and free from remandable

14 error.

15          Accordingly, IT IS HEREBY ORDERED that Plaintiff’s appeal from the decision of the

16 Commissioner of Social Security is DENIED. It is FURTHER ORDERED that judgment be

17 entered in favor of Defendant Commissioner of Social Security and against Plaintiff Luz M.

18 Robles De Nunez. The Clerk of the Court is directed to CLOSE this action.

19
     IT IS SO ORDERED.
20

21 Dated:     April 7, 2023
                                                     UNITED STATES MAGISTRATE JUDGE
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